     Case 2:13-cr-00096-RHW             ECF No. 1106        filed 12/13/16      PageID.3759 Page 1 of 2
 PROB 12C                                                                         Report Date: December 13, 2016
(6/16)
                                                                                                          FILED IN THE
                                       United States District Court                                   U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT OF WASHINGTON


                                                       for the
                                                                                                Dec 13, 2016
                                                                                                     SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Christopher Scott Bouck                  Case Number: 0980 2:13CR00096-RHW-6
 Address of Offender: 225 West Broadway Avenue, Spokane, Washington 99201
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: February 6, 2014
 Original Offense:          Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:         Prison - 24 months              Type of Supervision: Probation
                            TSR - 36 months

 Revocation Sentence
 June 22, 2016:             Prison - 30 days
                            TSR - 36 months
 Asst. U.S. Attorney:       Timothy John Ohms               Date Supervision Commenced: June 30, 2016
 Defense Attorney:          Daniel Noah Rubin               Date Supervision Expires: March 18, 2019


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 07/06/2016 and 12/07/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            8           Standard Condition # 3: The defendant shall answer truthfully all inquiries by the
                        probation officer and follow the instructions of the probation officer.

                        Supporting Evidence: Mr. Bouck was given instructions to report to U.S. Probation on
                        December 7, 2016. Mr. Bouck left the Spokane Residential Reentry Center (RRC) and never
                        reported as directed. His whereabouts are currently unknown.
            9           Special Condition # 20: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                        Washington, by using methamphetamine on or about December 5, 2016.
    Case 2:13-cr-00096-RHW         ECF No. 1106       filed 12/13/16       PageID.3760 Page 2 of 2
Prob12C
Re: Bouck, Christopher Scott
December 13, 2016
Page 2

                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     December 13, 2016
                                                                        s/Corey M. McCain
                                                                        Corey M. McCain
                                                                        U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                        Signature of Judicial Officer
                                                                               December 13, 2016
                                                                        Date
